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     Fill in this information to identify the case:

     United States Bankruptcy Court for the:
     Southern
     ____________________             New York
                          District of _________________
                                          (State)
                                                               11
     Case number (If known): _________________________ Chapter _____

                                                                                                                                        Check if this is an
                                                                                                                                           amended filing
Official Form 205
Involuntary Petition Against a Non-Individual                                                                                                           12/15

Use this form to begin a bankruptcy case against a non-individual you allege to be a debtor subject to an involuntary case. If you want to begin
a case against an individual, use the Involuntary Petition Against an Individual (Official Form 105). Be as complete and accurate as possible. If
more space is needed, attach any additional sheets to this form. On the top of any additional pages, write debtor’s name and case number (if
known).


Part 1:      Identify the Chapter of the Bankruptcy Code Under Which Petition Is Filed


1.   Chapter of the                    Check one:
     Bankruptcy Code
                                            Chapter 7
                                       
                                       ✔     Chapter 11


Part 2:      Identify the Debtor


2.   Debtor’s name                     Crédito Real, S.A.B. de C.V., SOFOM, E.N.R.
                                       ______________________________________________________________________________________________________



3.   Other names you know              __________________________________________________
     the debtor has used in
     the last 8 years                  __________________________________________________

                                       __________________________________________________
     Include any assumed
     names, trade names, or
     doing business as names.

4.   Debtor’s federal
     Employer Identification           
                                       ✔ Unknown
     Number (EIN)
                                       ___ ___ – ___ ___ ___ ___ ___ ___ ___
                                       EIN

                                       Principal place of business                                    Mailing address, if different
5.   Debtor’s address

                                       Avenida Insurgentes Sur No 730
                                       ________________________________________________                28         Liberty Street
                                                                                                      _________________________________________________
                                       Number     Street                                              Number     Street


                                       Piso 20, Colonia Del Valle, C.P.                                CT Corporation System (Authorized Agent)
                                                                                                      _________________________________________________
                                       _________________________________________________
                                                                                                      P.O. Box

                                       Mexico City
                                       ______________________________        D.F.Mexico
                                                                            _______     03103
                                                                                    _________
                                                                                                       New York
                                                                                                      _____________________________  NY 10005-1400
                                                                                                                                    _______ _________
                                       City                                 State   ZIP Code          City                          State   ZIP Code



                                                                                                      Location of principal assets, if different from
                                                                                                      principal place of business

                                       _________________________________________________              _________________________________________________
                                       County                                                         Number     Street

                                                                                                      _________________________________________________

                                                                                                      _____________________________ _______ _________
                                                                                                      City                          State   ZIP Code


Official Form 205                                         Involuntary Petition Against a Non-Individual                                    page 1
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Debtor         Crédito Real, S.A.B. de C.V., SOFOM, E.N.R.
               _______________________________________________________                          Case number (if known)_____________________________________
               Name




6.    Debtor’s website (URL)        https://www.creal.mx/
                                    _____________________________________________________________________________________________________




7.    Type of debtor                
                                    ✔    Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                        Partnership (excluding LLP)
                                        Other type of debtor. Specify: __________________________________________________________________________


8.    Type of debtor’s
                                    Check one:
      business
                                     Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                     Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                     Railroad (as defined in 11 U.S.C. § 101(44))
                                     Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                     Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                     Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                    
                                    ✔ None of the types of business listed.
                                     Unknown type of business.

9.    To the best of your           
                                    ✔    No
      knowledge, are any
      bankruptcy cases                  Yes. Debtor _________________________________________________ Relationship __________________________
      pending by or against
                                              District __________________________ Date filed _______________ Case number, if known____________________
      any partner or affiliate
                                                                                             MM / DD / YYYY
      of this debtor?

                                              Debtor _________________________________________________            Relationship __________________________

                                              District __________________________ Date filed _______________ Case number, if known____________________
                                                                                             MM / DD / YYYY




Part 3:        Report About the Case

10.   Venue                         Check one:

                                    
                                    ✔ Over the last 180 days before the filing of this bankruptcy, the debtor had a domicile, principal place of
                                        business, or principal assets in this district longer than in any other district.

                                     A bankruptcy case concerning debtor’s affiliates, general partner, or partnership is pending in this district.

11.   Allegations                   Each petitioner is eligible to file this petition under 11 U.S.C. § 303(b).
                                    The debtor may be the subject of an involuntary case under 11 U.S.C. § 303(a).

                                    At least one box must be checked:

                                    
                                    ✔ The debtor is generally not paying its debts as they become due, unless they are the subject of a bona
                                        fide dispute as to liability or amount.

                                     Within 120 days before the filing of this petition, a custodian, other than a trustee, receiver, or an
                                        agent appointed or authorized to take charge of less than substantially all of the property of the
                                        debtor for the purpose of enforcing a lien against such property, was appointed or took possession.

12.   Has there been a               No
      transfer of any claim
      against the debtor by or      
                                    ✔ Yes. Attach all documents that evidence the transfer and any statements required under Bankruptcy
      to any petitioner?                Rule 1003(a).


Official Form 205                                     Involuntary Petition Against a Non-Individual                                        page 2
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Debtor            Crédito Real, S.A.B. de C.V., SOFOM, E.N.R.
                  _______________________________________________________                                                               Case number (if known)_____________________________________
                  Name




13.   Each petitioner’s claim                     Name of petitioner                                                                Nature of petitioner’s claim               Amount of the claim
                                                                                                                                                                               above the value of
                                                                                                                                                                               any lien

                                                  Institutional Multiple Investment Fund LLC
                                                  ______________________________________                                            unsecured bond debt
                                                                                                                                    _________________________________            1,050,000.00
                                                                                                                                                                               $ ________________

                                                   Banco Monex, S.A., Institución De Banca Múltiple, Monex Grupo Financiero
                                                  ______________________________________                                            unsecured bank debt
                                                                                                                                    _________________________________            2,000,000.00
                                                                                                                                                                               $ ________________

                                                  Solitaire Fund
                                                  ______________________________________                                            unsecured bond debt
                                                                                                                                    _________________________________            5,000,000.00
                                                                                                                                                                               $ ________________

                                                                                                                                           Total of petitioners’ claims          8,050,000.00
                                                                                                                                                                               $ ________________


      If more space is needed to list petitioners, attach additional sheets. Write the alleged debtor’s name and the case number, if known, at
      the top of each sheet. Following the format of this form, set out the information required in Parts 3 and 4 of the form for each
      additional petitioning creditor, the petitioner’s claim, the petitioner’s representative, and the petitioner’s attorney. Include the
      statement under penalty of perjury set out in Part 4 of the form, followed by each additional petitioner’s (or representative’s) signature,
      along with the signature of the petitioner’s attorney.


Part 4:        Request for Relief

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
      $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

      Petitioners request that an order for relief be entered against the debtor under the chapter of 11 U.S.C. specified in this petition. If a
      petitioning creditor is a corporation, attach the corporate ownership statement required by Bankruptcy Rule 1010(b). If any petitioner is a
      foreign representative appointed in a foreign proceeding, attach a certified copy of the order of the court granting recognition.

      I have examined the information in this document and have a reasonable belief that the information is true and correct.

      Petitioners or Petitioners’ Representative                                                                         Attorneys


      Name and mailing address of petitioner

      Institutional Multiple Investment Fund LLC                                                                         David H. Botter
                                                                                                                         ________________________________________________________________
      ______________________________________________________________
      Name                                                                                                               Printed name

                                                                                                                         Akin Gump Strauss Hauer & Feld LLP
                                                                                                                         ________________________________________________________________
      60 State Street
      ______________________________________________________________                                                     Firm name, if any
      Number Street

      Boston                             MA             02114                                                            One Bryant Park
                                                                                                                         ________________________________________________________________
      _________________________________ ______________ _____________
      City                              State          ZIP Code                                                          Number Street

                                                                                                                         New York
                                                                                                                         _________________________________  NY
                                                                                                                                                           ______________  10036
                                                                                                                                                                          _____________
                                                                                                                         City                              State          ZIP Code
      Name and mailing address of petitioner’s representative, if any

      Kenneth J. Monaghan
      ______________________________________________________________                                                      Contact phone    _________________    dbotter@akingump.com
                                                                                                                                           (212) 872-1000 Email ___________________________
      Name

      Amundi Asset Management US, Inc., 280 S. Mangum #301
      ______________________________________________________________                                                      Bar number      2351260
                                                                                                                                          ___________________________________________________
      Number Street

      Durham
      _________________________________  NC
                                        ______________  27701
                                                       _____________                                                      State           New York
                                                                                                                                          _________________
      City                              State          ZIP Code

      I declare under penalty of perjury that the foregoing is true and correct.

                  06/22/2022
      Executed on _________________
                  MM / DD / YYYY                                                                                    /s/ David H. Botter
                                                                                                                          ________________________________________________________________
                                                                                                                         Signature of attorney

     /s/ Kenneth J. Monaghan, Managing Director of investment adviser to petitioner
      ______________________________________________________________
                                                                                                                          Date signed      06/22/2022
                                                                                                                                           _________________
      Signature of petitioner or representative, including representative’s title
                                                                                                                                           MM / DD / YYYY



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Debtor              Crédito Real, S.A.B. de C.V., SOFOM, E.N.R.
                    _______________________________________________________                                                                  Case number (if known)_____________________________________
                    Name




   Name and mailing address of petitioner

   Banco Monex, S.A., Institución De Banca Múltiple, Monex Grupo Financiero                                                    David H. Botter
                                                                                                                               ________________________________________________________________
   ______________________________________________________________
   Name                                                                                                                        Printed name

                                                                                                                                Akin Gump Strauss Hauer & Feld LLP
                                                                                                                               ________________________________________________________________
   Avenida Paseo de la Reforma 284
   ______________________________________________________________                                                              Firm name, if any
   Number Street

   Mexico City                        Mexico         06600                                                                     One Bryant Park
                                                                                                                               ________________________________________________________________
   _________________________________ ______________ _____________
   City                              State          ZIP Code                                                                   Number Street

                                                                                                                               New York
                                                                                                                               _________________________________  NY
                                                                                                                                                                 ______________  10036
                                                                                                                                                                                _____________
                                                                                                                               City                              State          ZIP Code
   Name and mailing address of petitioner’s representative, if any
                                                                                                                               Contact phone    _________________    dbotter@akingump.com
                                                                                                                                                (212) 872-1000 Email ___________________________
   Jacobo G. Martinez Flores
   ______________________________________________________________
   Name
                                                                                                                               Bar number      2351260
                                                                                                                                               ___________________________________________________
   Avenida Paseo de la Reforma 284
   ______________________________________________________________
   Number Street
                                                                                                                               State           New York
                                                                                                                                               _________________
   Mexico City
   _________________________________  Mexico
                                     ______________ 06600
                                                    _____________
   City                              State          ZIP Code

    I declare under penalty of perjury that the foregoing is true and correct.

               06/22/2022
   Executed on _________________
               MM / DD / YYYY
                                                                                                                              /s/ David H. Botter
                                                                                                                               ________________________________________________________________
                                                                                                                               Signature of attorney


   /s/ Jacobo G. Martinez Flores, General Counsel and Attorney in Fact
    ______________________________________________________________                                                             Date signed      06/22/2022
                                                                                                                                                _________________
   Signature of petitioner or representative, including representative’s title                                                                  MM / DD / YYYY




   Name and mailing address of petitioner

   Solitaire Fund                                                                                                              David H. Botter
                                                                                                                               ________________________________________________________________
   ______________________________________________________________
   Name                                                                                                                        Printed name

                                                                                                                                Akin Gump Strauss Hauer & Feld LLP
                                                                                                                               ________________________________________________________________
   Aeulestrasse 6
   ______________________________________________________________                                                              Firm name, if any
   Number Street

   Vaduz                                             9490
                                      Liechtenstein _____________                                                              One Bryant Park
                                                                                                                               ________________________________________________________________
   _________________________________ ______________
   City                              State          ZIP Code                                                                   Number Street

                                                                                                                               New York
                                                                                                                               _________________________________  NY
                                                                                                                                                                 ______________  10036
                                                                                                                                                                                _____________
                                                                                                                               City                              State          ZIP Code
   Name and mailing address of petitioner’s representative, if any

    Dr. Martin Jonasch and Lisa Saleteg, VP Fund Solutions (Liechtenstein) AG as management company of Solitaire Fund          Contact phone    _________________    dbotter@akingump.com
                                                                                                                                                (212) 872-1000 Email ___________________________
   ______________________________________________________________
   Name
                                                                                                                               Bar number      2351260
                                                                                                                                               ___________________________________________________
   Aeulestrasse 6
   ______________________________________________________________
   Number Street
                                                                                                                               State           New York
                                                                                                                                               _________________
   Vaduz
   _________________________________                9490
                                      Liechtenstein _____________
                                     ______________
   City                              State          ZIP Code

    I declare under penalty of perjury that the foregoing is true and correct.

               06/22/2022
   Executed on _________________
               MM / DD / YYYY
                                                                                                                              /s/ David H. Botter
                                                                                                                               ________________________________________________________________
                                                                                                                               Signature of attorney


   /s/ Dr. Martin Jonasch, /s/ Lisa Saleteg, VP Fund Solutions (Liechtenstein) AG as management company of Solitaire Fund
    ______________________________________________________________                                                             Date signed      06/22/2022
                                                                                                                                                _________________
   Signature of petitioner or representative, including representative’s title                                                                  MM / DD / YYYY




Official Form 205                                                                         Involuntary Petition Against a Non-Individual                                                 page 4
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                          Chapter 11
In re

Crédito Real, S.A.B. de C.V., SOFOM, E.N.R.,              Case No. 22-______ (___)


                        Alleged Debtor.


 DECLARATION OF KENNETH J. MONAGHAN ON BEHALF OF INSTITUTIONAL
   MULTIPLE INVESTMENT FUND LLC PURSUANT TO FEDERAL RULE OF
                 BANKRUPTCY PROCEDURE 1003(a)

        Pursuant to 28 U.S.C. § 1746, Kenneth J. Monaghan declares as follows:

        1.     I make this declaration on behalf of Institutional Multiple Investment Fund LLC

(“Petitioning Creditor”) in the above-captioned involuntary chapter 11 case (the “Bankruptcy

Case”) filed by Petitioning Creditor and other petitioning creditors against Crédito Real, S.A.B. de

C.V., SOFOM, E.N.R. (the “Debtor”). I am fully familiar with the facts set forth herein either

through my own personal knowledge or through a review of documents related to Petitioning

Creditor’s claims against the Debtor. If called to testify in connection with the Bankruptcy Case,

the following would constitute my testimony.

        2.     I am the Managing Director of Amundi Asset Management US, Inc., the

investment adviser to the Petitioning Creditor.

        3.     Petitioning Creditor holds claims against Debtor in the aggregate principal amount

of at least $1,050,000.00 based upon certain of its holdings of 8% Senior Unsecured Notes due

2028 (“Notes”). Petitioning Creditor’s holdings of Notes that are being relied upon for the purpose

of satisfying the requirement of 11 U.S.C. § 303(b)(1) were acquired on January 11, 2021, as

reflected in the attached document.
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       4.      Petitioning Creditor also holds claims for accrued but unpaid interest on the Notes

that are being relied upon for the purpose of satisfying the requirements of 11 U.S.C. § 303(b)(1),

plus applicable fees, costs and other charges.

       5.      Petitioning Creditor did not purchase the Notes for the purpose of commencing this

case under the Bankruptcy Code.

       6.      Petitioning Creditor acquired its claims on the open market for investment purposes

and not for the purpose of commencing the Bankruptcy Case.

       7.      Petitioning Creditor may also hold other claims against Debtor based upon its

holdings of other securities or debt instruments of Debtor.


       I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.


Executed this 22nd day of June, 2022 at Durham, North Carolina.


                                                  By: /s/ Kenneth J. Monaghan
                                                     Kenneth J. Monaghan
                                                     Managing Director of
                                                     Amundi Asset Management US, Inc.,
                                                     Investment Adviser to Petitioning Creditor
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                           Chapter 11
In re

Crédito Real, S.A.B. de C.V., SOFOM, E.N.R.,               Case No. 22-______ (___)


                           Alleged Debtor.


                    CORPORATE OWNERSHIP STATEMENT OF
                INSTITUTIONAL MULTIPLE INVESTMENT FUND LLC

        Pursuant to Rules 1010(b) and 7007.1 of the Federal Rules of Bankruptcy Procedure, and

Rules 1010-1 and 7007.1-1 of the Local Bankruptcy Rules for the Southern District of New York,

petitioner Institutional Multiple Investment Fund LLC (the “Petitioner”), states that it is a limited

liability company organized under the laws of the State of Delaware. To the best of Petitioner’s

knowledge, no publicly held corporation owns 10% or more of its equity interests.


                             Declaration Under Penalty of Perjury

        I, the undersigned authorized representative of Institutional Multiple Investment Fund

LLC, a Petitioner in this case, declare under penalty of perjury that I have reviewed the “Corporate

Ownership Statement” and that it is true and correct to the best of my knowledge, information and

belief, with reliance on appropriate corporate officers.


Dated: June 22, 2022

                                                   By: /s/ Kenneth J. Monaghan
                                                      Kenneth J. Monaghan
                                                      Managing Director of
                                                      Amundi Asset Management US, Inc.,
                                                      Investment Adviser to Petitioning Creditor
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                          Chapter 11
In re

Crédito Real, S.A.B. de C.V., SOFOM, E.N.R.,              Case No. 22-______ (___)


                        Alleged Debtor.


        DECLARATION OF JACOBO G. MARTINEZ FLORES ON BEHALF OF
        BANCO MONEX, S.A., INSTITUCIÓN DE BANCA MÚLTIPLE, MONEX
            GRUPO FINANCIERO PURSUANT TO FEDERAL RULE OF
                    BANKRUPTCY PROCEDURE 1003(a)

        Pursuant to 28 U.S.C. § 1746, Jacobo G. Martinez Flores declares as follows:

        1.     I make this declaration on behalf of Banco Monex, S.A., Institución De Banca

Múltiple, Monex Grupo Financiero (“Petitioning Creditor”) in the above-captioned involuntary

chapter 11 case (the “Bankruptcy Case”) filed by Petitioning Creditor and other petitioning

creditors against Crédito Real, S.A.B. de C.V., SOFOM, E.N.R. (the “Debtor”). I am fully familiar

with the facts set forth herein either through my own personal knowledge or through a review of

documents related to Petitioning Creditor’s claims against the Debtor. If called to testify in

connection with the Bankruptcy Case, the following would constitute my testimony.

        2.     I am the General Counsel and Attorney In Fact of Banco Monex, S.A., Institución

De Banca Múltiple, Monex Grupo Financiero.

        3.     Petitioning Creditor holds claims against Debtor in the aggregate principal amount

of at least $2,000,000.00 based upon certain of its holdings of term loans under that certain Credit

Agreement dated as of August 2, 2019, among Crédito Real, S.A.B. de C.V., SOFOM, E.N.R. as

borrower, the lenders party thereto, Credit Suisse AG, Cayman Islands Branch as Administrative

Agent and Credit Suisse Securities (USA) LLC as lead arranger (the “Loans”). Petitioning
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Creditor’s holdings of Loans that are being relied upon for the purpose of satisfying the

requirement of 11 U.S.C. § 303(b)(1) were acquired on August 2, 2019.

       4.      Petitioning Creditor also holds claims for accrued but unpaid interest on the Loans

that are being relied upon for the purpose of satisfying the requirements of 11 U.S.C. § 303(b)(1),

plus applicable fees, costs and other charges.

       5.      Petitioning Creditor did not purchase the Loans for the purpose of commencing this

case under the Bankruptcy Code.

       6.      Petitioning Creditor may also hold other claims against Debtor based upon its

holdings of other securities or debt instruments of Debtor.



       I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.


Executed this 22nd day of June, 2022.


                                                 By:
                                                       Jacobo G. Martinez Flores
                                                       General Counsel and Attorney In Fact
                                                       Banco Monex, S.A., Institución De Banca
                                                       Múltiple, Monex Grupo Financiero
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                         Chapter 11
In re

Crédito Real, S.A.B. de C.V., SOFOM, E.N.R.,             Case No. 22-______ (___)


                          Alleged Debtor.

         CORPORATE OWNERSHIP STATEMENT OF BANCO MONEX, S.A.,
        INSTITUCIÓN DE BANCA MÚLTIPLE, MONEX GRUPO FINANCIERO

        Pursuant to Rules 1010(b) and 7007.1 of the Federal Rules of Bankruptcy Procedure, and

Rules 1010-1 and 7007.1-1 of the Local Bankruptcy Rules for the Southern District of New York,

petitioner Banco Monex, S.A., Institución De Banca Múltiple, Monex Grupo Financiero (the

“Petitioner”), states that it is a credit institution organized under the laws of Mexico with

jurisdiction in Mexico City, Mexico. To the best of Petitioner’s knowledge, the following

corporations directly or indirectly own 10% or more of its equity interests: Monex, S.A.B. de C.V.

and Monex Grupo Financiero, S.A. de C.V.


                            Declaration Under Penalty of Perjury

        I, the undersigned authorized representative of Banco Monex, S.A., Institución De Banca

Múltiple, Monex Grupo Financiero, a Petitioner in this case, declare under penalty of perjury that

I have reviewed the “Corporate Ownership Statement” and that it is true and correct to the best of

my knowledge, information and belief, with reliance on appropriate corporate officers.


Dated: June 22, 2022

                                                 By:
                                                       Jacobo G. Martinez Flores
                                                       General Counsel and Attorney In Fact
                                                       Banco Monex, S.A., Institución De Banca
                                                       Múltiple, Monex Grupo Financiero
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 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK

                                                                Chapter 1l
 In re

 Cr6dito Real, S.A.B. de C.V., SOFOM, E.N.R.,                   Case No.     22-_()

                                   Debtor.



  DECTARATION OF \IP Fund Solutions (Liechtenstein) AG as management company of
   Solitaire Fund PIJRSUANT TO FEDERAL RULE OF BANKRUPTCY PROCEDURE
                                                 1003(a)

         Pursuant to 28 U.S.C.5 1746, VP Fund Solutions (Liechtenstein) AG declares as follows:

         l.      I make this declaration on behalf of Solitaire Fund ("Petitioning      Cred     ') in the

above-captioned involuntary chapter I   I   case (the "Bankruptcy Case") filed by Petitioning Creditor

and other petitioning creditors against Cr6dito Real, S.A.B. de C.V., SOFOM, E.N.R. (the

"Debtor"). I am fully familiar with the facts set forth herein either through my own            personal

knowledge or through a review of documents related to Petitioning Creditor's claims against the

Debtor. If called to testify in connection with the Bankruptcy Case, the following would constitute

my testimony.

         2.     I am the Authorized Signatory of VP Fund Solutions (Liechtenstein) AG, the

management company of the Petitioning Creditor.

         3.     Petitioning Creditor holds claims against Debtor in the aggregate principal amount

of at least $ 5,000,000   based upon certain     of its holdings of   8o/o   Senior Unsecured Notes due

January 2028    ("Notes"). Petitioning Creditor's holdings of Notes that are being relied upon for

the purpose of satisfying the requirement    of I 1 U.S.C.   $ 303(bX1) were acquired on June   22,2021,
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October 5,202I, December 17,2021, February 11,2022, and February 15, 2022, as reflected in

the attached document.

       4.      Petitioning Creditor also holds claims for accrued but unpaid interest on the Notes

that are being relied upon for the purpose of satisfuing the requirements   of I I U.S.C. $ 303(bX1),

plus applicable fees, costs and other charges.

       5.      Petitioner did not purchase the Notes for the purpose of commencing this case under

the Bankruptcy Code.

       6.      Petitioning Creditor acquired its claims on the open market for investment purposes

and not for the purpose of commencing the Bankruptcy Case.

       7.      Petitioning Creditor may also hold other claims against Debtor based upon its

holdings of other securities or debt instruments of Debtor.


        I declare under penalty of perjury under the laws of the United States of America that the



                                                          s
foregoing is true and correct.
                                                                FUNt)
                                                                SC)LUTIONS
                                                                VP Fund Solutions (Liechtennein) AG
Executed this 20th day of June,2022.                                 strasse6'9490Vaduz
                                                                            n


                                                                                               Itufrl,,l'+
                                                                            J     sch            Lisa Saleteg/
                                                      By:                                     AG
                                                     VP Fund Soluuthorized
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                                                   Pg 14 of 15
VP BankAG
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info@vpbank.com .www.vpbank.com'MwSt.-Nr.51.263 . Reg.-Nr. FL-OOOl.OO7.O8O-0                             ETANK



        Solitaire Global Bond Fund                                                 Vaduz, 14.06.2022
        Aeulestrasse 6                                                             SEP/jeh
        9490 Vaduz




       CONFIRMAT!ON



       Dear Sir or Madam

       We herewith confirm that we hold


       -5'000'000-         8% Credito Real SAB de CV SOFOM ER 2021-2L.OL.2O28 USP325O6AE09

       and Solitaire Global Bond Fund is the beneficial owner of it.


       Furthermore, we hereby confirm the following purchase orders placed and booked

      -1'000'000- 87o Credito Real SAB de                  CV SOFOM      ER2O2L-21.O1.2O28 USP325O6AE09
      trade date: 22.06.202I

      -1'000'000-     8% Credito RealSAB de CV SOFOM ER 2021-ZL.OL.2OZB                           usP32505AE09
      trade date: 22.O6.2O2L

      -1'000'000- 8% Credito Real SAB de                   CV SOFOM ER        2021-2t.Ot.2O28     USP32506AEO9
      trade date:05.10.2021

      -1'000'000-          8% Credito Real SAB de CV SOFOM ER                 2021-2L.0L.2028     USP325O6AEO9
      trade date: L7.L2.2O2L

      -1'000'000- 8% Credito Real SAB de CV SOFOM                        ER   2021-21.0L.2O28     USP325O6AEO9
      trade date: LL.O2.2O22


       Yours faithfully,

       VP Ba



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                                                    cfn"             r
22-10842-dsj      Doc 1      Filed 06/22/22 Entered 06/22/22 18:08:48                         Main Document
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                              Chapter 1l
In re

Crödito Real, S.A.B. de C.V., SOFOM, E.N.R.,                  Case No.   22-                  (_-)

                                     Debtor,



            CORPORATE OWNERSHIP STATEMENT OF SOLITAIRE FIJI\D

        Pursuant to Rules 1010(b) and7007.I of the Federal Rules of Bankruptcy Procedure, and

Rules 1010-1 and7007.I-1 of the Local Bankruptcy Rules for the Southern District of New York,

petitioner Solitaire Fund (the "Pe!iIiW!"), states that it is a collective trusteeship that is structured

as an umbrella investment fund with one or more sub-funds organized under the laws of

Liechtenstein. To the best of Petitioner's knowledge, no publicly held corporation owns I0oÄ or

more of its equity interests.


                                Declaration Under Penaltv of Periurv

        We, the undersigned authorized representatives of VP Fund Solutions (Liechtenstein) AG,

management company of the Petitioner in this case, declare under penalty of perjury that               I have

reviewed the "Corporate Ownership Statement" and that it is true and correct to the best of my

knowledge, information and belief, with reliance on appropriate corporate officers.
                                                                               FUNT)
                                                                               sor-uTroNS
Dated: }une20h,2022                                                                    Sol

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                                                                                                            ^W
                                                                                             n
                                                       By:    VP
                                                                         rti                         Lisa
                                                                                          (Liechtenstein)   it,"/
                                                                         Title:        AuthorizedSignatory
